          Case 24-07802                         Doc 10               Filed 05/30/24 Entered 05/30/24 23:13:17                                                  Desc Imaged
                                                                    Certificate of Notice Page 1 of 4
Information to identify the case:

                       Eric T Booe                                                              Social Security number or ITIN:      xxx−xx−5556
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13       5/27/24

Case number:          24−07802

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Eric T Booe

2. All other names used in the
   last 8 years
                                                   2620 Crested Butte Trl
3. Address                                         Plainfield, IL 60586
                                                   David H Cutler                                                          Contact phone 847−673−8600
   Debtor's attorney
4. Name                                            Cutler & Associates, Ltd.                                               Email: cutlerfilings@gmail.com
        and address                                4131 Main St.
                                                   Skokie, IL 60076

5. Bankruptcy trustee                              Glenn B Stearns                                                         Contact phone 630−981−3888
     Name and address                              801 Warrenville Road Suite 650
                                                   Lisle, IL 60532

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 5/28/24
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case 24-07802                     Doc 10          Filed 05/30/24 Entered 05/30/24 23:13:17                                                      Desc Imaged
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Debtor Eric T Booe                                                                                                                           Case number 24−07802
7. Meeting of creditors                                                                                      Location:
    Debtors must attend the meeting to     July 30, 2024 at 10:30 AM
    be questioned under oath. In a joint                                                    Zoom video meeting. Go to
    case, both spouses must attend.
    Creditors may attend, but are not      The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID 388 782
    required to do so.                     later date. If so, the date will be on the court 3554, and Passcode 4113122038, OR
                                           docket.                                          call 1−872−282−6946
                                                                                                             For additional meeting information, go to
                                                                                                             www.justice.gov/ust/moc .

8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 9/30/24
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 8/5/24
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 11/25/24
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           8/22/24 at 10:30 AM , Location: Courtroom 682, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom. To
                                           appear by video, use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for
                                           Government at 1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 160 9362 1728 and no
                                           passcode needed.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                         page 2
           Case 24-07802                Doc 10          Filed 05/30/24 Entered 05/30/24 23:13:17                                     Desc Imaged
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 24-07802-DLT
Eric T Booe                                                                                                            Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 28, 2024                                               Form ID: 309I                                                             Total Noticed: 18
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 30, 2024:
Recip ID                 Recipient Name and Address
db                     + Eric T Booe, 2620 Crested Butte Trl, Plainfield, IL 60586-6665
30863111               + Customers Bank, Attn: Bankruptcy, P.O. Box 1503, San Carlos, CA 94070-7503

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: cutlerfilings@gmail.com
                                                                                        May 29 2024 01:04:00      David H Cutler, Cutler & Associates, Ltd., 4131
                                                                                                                  Main St., Skokie, IL 60076
tr                     + Email/Text: mcguckin_m@lisle13.com
                                                                                        May 29 2024 01:05:00      Glenn B Stearns, 801 Warrenville Road Suite 650,
                                                                                                                  Lisle, IL 60532-4350
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        May 29 2024 01:05:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30863106                  EDI: ATLASACQU
                                                                                        May 29 2024 04:58:00      Atlas Acquisitions, 492C Cedar Lane, Ste 442,
                                                                                                                  Teaneck, NJ 07666
30863108                  Email/Text: BKBCNMAIL@carringtonms.com
                                                                                        May 29 2024 01:05:00      Carrington Mortgage Services, Attn: Bankruptcy,
                                                                                                                  1600 S Douglass Rd, Stes 110 & 200, Anaheim,
                                                                                                                  CA 92806
30863107               + EDI: CAPITALONE.COM
                                                                                        May 29 2024 04:58:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
30863109               + EDI: CITICORP
                                                                                        May 29 2024 04:59:00      Citibank, Citicorp Cr Srvs/Centralized
                                                                                                                  Bankruptcy, Po Box 790040, St Louis, MO
                                                                                                                  63179-0040
30863110               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        May 29 2024 01:12:26      Credit One Bank, Attn: Bankruptcy Department,
                                                                                                                  6801 Cimarron Rd, Las Vegas, NV 89113-2273
30863112               + EDI: DISCOVER
                                                                                        May 29 2024 04:58:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
30863113               + Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                        May 29 2024 01:05:00      Goldman Sachs Bank USA, Attn: Bankruptcy, Po
                                                                                                                  Box 70379, Philadelphia, PA 19176-0379
30863114               + Email/Text: EBNBKNOT@ford.com
                                                                                        May 29 2024 01:06:00      Lincoln Automotive Finance, Attn: Bankrutcy, Po
                                                                                                                  Box 542000, Omaha, NE 68154-8000
30863115               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        May 29 2024 01:12:27      Lvnv Funding/Resurgent Capital, Attn:
                                                                                                                  Bankruptcy, Po Box 10497, Greenville, SC
                                                                                                                  29603-0497
30863118                  Email/Text: EBN@Mohela.com
                                                                                        May 29 2024 01:05:00      MOHELA, Attn: Bankruptcy, 633 Spirit Dr,
                                                                                                                  Chesterfiled, MO 63005
30863116               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        May 29 2024 01:12:33      Merrick Bank Corp, Po Box 9201, Old Bethpage,
                                                                                                                  NY 11804-9001
30863117               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        May 29 2024 01:06:00      Midland Credit Mgmt, Attn: Bankruptcy, Po Box
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District/off: 0752-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: May 28, 2024                                           Form ID: 309I                                                         Total Noticed: 18
                                                                                                            939069, San Diego, CA 92193-9069
30863119              + EDI: Q3GTBI
                                                                                   May 29 2024 04:59:00     The Bureaus Inc, Attn: Bankruptcy, 650 Dundee
                                                                                                            Rd, Ste 370, Northbrook, IL 60062-2757

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 30, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 28, 2024 at the address(es) listed below:
Name                             Email Address
David H Cutler
                                 on behalf of Debtor 1 Eric T Booe cutlerfilings@gmail.com r48280@notify.bestcase.com

Glenn B Stearns
                                 stearns_g@lisle13.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
